Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 1 of 29



                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 1:17-cv-24444-UU


  CENTER FOR BIOLOGICAL DIVERSITY,
  et al.,

         Plaintiffs,

                 v.

  RYAN ZINKE, in his official capacity as
  Secretary of the U.S. Department of the
  Interior; et al.,

        Defendants,

  and

  CORAL REEF RETAIL, LLC, et al.,

        Intervenor Defendants.


                  PLAINTIFFS’ OBJECTIONS TO MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 2 of 29



                                                   TABLE OF CONTENTS
                                                                                                                                      Page

  TABLE OF CITATIONS .............................................................................................................. iii
            STANDARD OF REVIEW .................................................................................................2
            ARGUMENT .......................................................................................................................3
            THE R&R DISREGARDS THE WELL-ESTABLISHED APPLICABLE LEGAL
            STANDARD AND FACTS TO DETERMINE WHETHER THE SERVICE’S
            INCIDENTAL TAKE STATEMENT WAS LAWFUL .....................................................4
            A. The R&R Fundamentally Misapprehends the Endangered Species Act, Which
               Provides the Foundation for Plaintiffs’ Administrative Procedure Act Claims .......... 4
            B. The R&R Contains Errors of Law and Fact Relating to the Service’s Arbitrary and
               Capricious Failure to Meet its Procedural Obligation Under ESA Section 7 to
               Specify Take in its Incidental Take Statement ............................................................ 5
                  1.    It Is Indisputable that the Service Must Specify Take in an Incidental Take
                        Statement in its Biological Opinion ..................................................................... 6
                  2.    The Service Has Not Established that a Numerical Take Statement Was
                        Impractical, Which the ESA Requires to Use a Surrogate ................................... 7
                  3.    The HFA Is Not a Lawful Surrogate Because It Does Not Alert the Service
                        When the Developer Has Exceeded the Authorized Amount of Take ................. 8
            C. The R&R Contains an Error of Law Relating to the Service’s Separate Procedural
               Obligations Under ESA Sections 7 and 10 .................................................................. 9
            THE R&R DETERMINES, WITHOUT AN ANALYSIS OF THE RELEVANT
            RECORDS, THAT THE SERVICE’S RELIANCE ON THE HABITAT FUNCTIONAL
            ASSESSMENT IN ISSUING THE INCIDENTAL TAKE PERMIT AND BIOLOGICAL
            OPINION WAS LAWFUL................................................................................................10
            THE R&R IGNORES RECORD EVIDENCE AND RELEVANT CASELAW IN
            CONCLUDING THAT THE SERVICE’S RELIANCE ON ALREADY CONSERVED
            OFF-SITE MITIGATION WAS LAWFUL ......................................................................13
            THE R&R RECITES DEFENDANTS’ POSITION WITHOUT INDEPENDENTLY
            ANALYZING PLAINTIFFS’ ARGUMENTS WITH RESPECT TO THE SERVICE’S
            FAILURE TO PRODUCE AN ENVIRONMENTAL IMPACT STATEMENTOR
            MAKE ITS FINDING OF NO SIGNIFICANT IMPACT AVAILABLE
            FOR 30 DAYS ...................................................................................................................15
            A. The Service Erred in Finding that the Project Would Not Significantly Impact the
               Human Environment .................................................................................................. 15
                  1.    The geographic area has unique characteristics ................................................. 15
                  2.    The effects of the project are highly controversial ............................................. 16
                  3.    The action may adversely affect listed species and their habitat ........................ 16

                                                                      i
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 3 of 29
                                                Case No. 1:17-cv-24444-UU


        B. The Service has not met its Obligation to Independently Conclude that the
           Developers Will Minimize and Mitigate the Impact of the Taking........................... 18
        C. The Service Unlawfully Failed to Make the FONSI Available to the Public for 30
           Days Prior to Taking Action ...................................................................................... 19
              CONCLUSION...........................................................................................................19




                                                                ii
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 4 of 29
                                                       Case No. 1:17-cv-24444-UU


                                                     TABLE OF CITATIONS
                                                                                                                                         Page

  Cases

  Sierra Club v. Babbitt,
     15 F. Supp. 2d 1274 (S.D. Ala. 1998) ..................................................................................... 18

  Ariz. Cattle Growers’ Ass’n v. U.S. Fish and Wildlife,
     Serv., 273 F.3d 1229 (9th Cir. 2001) ......................................................................................... 8

  Canal Auth. of Fla. v. Callaway,
    489 F.2d 567 (5th Cir. 1974) .................................................................................................. 3, 4

  Fund for Animals v. Rice,
    85 F.3d 535 (11th Cir. 1996) ...................................................................................................... 8

  Gerber v. Norton,
    294 F.3d 173 (D.C. Cir. 2002) ................................................................................................. 14

  Grizzle v. Kemp,
    634 F.3d 1314 (11th Cir. 2011) .................................................................................................. 3

  LoConte v. Dugger,
    847 F.2d 745 (11th Cir. 1988) .................................................................................................... 2

  Miccosukee Tribe of Indians of Fla. v. United States,
    697 F. Supp. 2d 1324 (S.D. Fla. 2010)....................................................................................... 8

  Miccosukee Tribe of Indians v. United States,
    566 F.3d 1257 (11th Cir. 2009) ...................................................................................... 6, 7, 8, 9

  Or. Nat. Res. Council v. Allen,
    476 F.3d 1031............................................................................................................................. 8

  Pacificans for a Scenic Coast v. California Department of Transportation,
    204 F. Supp. 3d 1075 (N.D. Cal. 2016) ............................................................................. 14, 15

  Scott v. Roberts,
    612 F.3d 1279 (11th Cir. 2010) .................................................................................................. 3

  Motor Veh. Mfrs. v. State Farm Mut. Auto. Ins.,
    463 U.S. 29 (1983) ............................................................................................................. 11, 12

  Sierra Club v. Norton,
     207 F. Supp. 2d 1310 (S.D. Ala. 2002) ............................................................................. passim

  Sinclair Refining Co. v. Midland Oil Co.,
     44 F.2d 42 (4th Cir. 1932) .......................................................................................................... 3
                                                                       iii
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 5 of 29
                                                        Case No. 1:17-cv-24444-UU


  Wash. Cnty., N.C. v. U.S. Dep’t of the Navy,
    317 F. Supp. 2d 626 (E.D.N.C. 2004) ........................................................................................ 3

  Winter v. NRDC,
    555 U.S. 7 (2008) ....................................................................................................................... 3

  Statutes

  5 U.S.C. § 706 ......................................................................................................................... 11, 12

  5 U.S.C. § 706(A)(2)....................................................................................................................... 1

  16 U.S.C. 1533 .............................................................................................................................. 17

  16 U.S.C. § 1536(a)(2) .................................................................................................................... 4

  16 U.S.C. § 1536(b)(4)(C)(i)-(iv) ................................................................................................... 6

  16 U.S.C. § 1539(a)(1)(b) ............................................................................................................... 4

  16 U.S.C. § 1539(a)(2)(B)(ii) ............................................................................................. 2, 14, 15

  16 U.S.C. §§ 1536(a)(2) and (b)(4)(C) ........................................................................................... 3

  16 U.S.C. §§ 1538-1540 ................................................................................................................. 4

  16 U.S.C §§ 1539(a)(2) ................................................................................................................... 9

  28 U.S.C. § 636(b)(1)(C) ................................................................................................................ 2

  42 U.S.C. § 4332(C) ..................................................................................................................... 15

  Rules

  Fed. R. Civ. P. 10(c) ....................................................................................................................... 1

  Federal Rule of Civil Procedure 72(b) ............................................................................................ 1

  Regulations

  40 C.F.R. 1508.27(b) .................................................................................................................... 16

  40 C.F.R. § 1501.4(a)(1) ............................................................................................................... 19

  40 C.F.R. § 1508.27 ...................................................................................................................... 15

  40 C.F.R. §§ 1501.4(e)(2)(i), 1508.27(b)(4) ................................................................................. 19

  50 C.F.R. § 17.22(b)(2) ................................................................................................................. 18

                                                                        iv
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 6 of 29
                                                       Case No. 1:17-cv-24444-UU


  50 C.F.R. § 402.14 .......................................................................................................................... 5

  50 C.F.R. § 402.14(h)-(i) ................................................................................................................ 9

  50 C.F.R. § 402.14(i)(1).................................................................................................................. 6

  50 C.F.R. § 402.14(i)(1)(i) .......................................................................................................... 7, 8

  50 C.F.R. § 402.14(i)(l)(i)............................................................................................................... 5

  50 C.F.R. § 402.16 .......................................................................................................................... 3

  50 C.F.R. § 402.17(g)(3) ............................................................................................................... 11

  50 C.F.R. §§ 17.22(b)(2)(i)(B), 17.32(b)(2)(i)(B) ........................................................................ 13

  50 C.F.R. §§ 402.12, 402.02 ........................................................................................................... 5

  ESA Section 10 ............................................................................................................................. 13

  Other Authorities

  80 Fed. Reg. 26832 (May 11, 2015) ............................................................................................. 10




                                                                        v
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 7 of 29
                                        Case No. 1:17-cv-24444-UU


         Plaintiffs moved for a temporary restraining order and preliminary injunction, ECF 4,
  because the Incidental Take Permit (ITP) at issue in this case, which was issued by the
  Defendant U.S. Fish and Wildlife Service (Service), will allow for the complete destruction of
  nearly 87 acres of unique forest which serves as habitat for a wide variety of endangered plants
  and species including the Bartram scrub-hairstreak butterfly, deltoid spurge, Miami tiger beetle,
  and Florida bonneted bat. Plaintiffs’ motion, which Plaintiffs incorporate here under Fed. R. Civ.
  P. 10(c), demonstrated that issuance of a preliminary injunction was appropriate to preserve the
  status quo while this Court resolves this case—which is a record review case that will be
  adjudicated on cross summary judgment motions—on its merits. Pursuant to Federal Rule of
  Civil Procedure 72(b) and S.D. Fla. Magistrate Judge Rule 4(b), Plaintiffs hereby object to the
  Magistrate Judge’s report and recommendation (R&R), ECF 80, recommending denial of
  preliminary injunctive relief. The R&R erred in recommending denial by:
         •   Disregarding well-established legal standards and facts of record to find the Service’s
             Incidental Take Statement (ITS) was lawful;
         •   Determining, without an analysis of the relevant records, that the Service’s reliance
             on the Developers’ Habitat Functional Assessment (HFA) in issuing ITP and
             Biological Opinion (BO) was not arbitrary and capricious;
         •   Ignoring record evidence and relevant caselaw in concluding that the Service’s
             reliance on already conserved off-site mitigation was not arbitrary and capricious; and
         •   Reciting Defendants’ position without independently analyzing Plaintiffs’ arguments
             with respect to the Service’s failure to produce an Environmental Impact Statement
             (EIS) or make its Finding of No Significant Impact (FONSI) available for 30 days
             prior to taking action.
  Accordingly, the Court should not adopt the R&R, and instead should grant Plaintiffs’ motion for
  a preliminary injunction.
         Plaintiffs have proven the four factors necessary for a preliminary injunction; most
  relevant in the context of the R&R, they are likely to succeed on the merits of their claims. While
  the Service has not yet made an administrative record available, the exhibits filed with this Court
  in connection with Plaintiffs’ motion show that Plaintiffs are likely to prevail on their claims
  that: (1) the Service’s BO, ECF 36-3, is arbitrary and capricious, contrary to the Endangered
  Species Act (ESA), and must be set aside under the Administrative Procedure Act (APA), 5

                                                   1
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 8 of 29
                                        Case No. 1:17-cv-24444-UU


  U.S.C. § 706(A)(2), because the ITS in the BO lacks a numerical trigger or an adequate
  surrogate; (2) the Service’s approval of the Habitat Conservation Plan (HCP) and its issuance of
  the ITP, ECF 36-1, was arbitrary and capricious because, among other reasons, the HCP, BO,
  and Environmental Assessment (EA) rely on an unsound and unprecedented HFA and lacks
  measures that will minimize and mitigate take to the “maximum extent practicable,” 16 U.S.C.
  § 1539(a)(2)(B)(ii); 1 and (3) the Service unlawfully found that the Project will not have a
  significant impact on the human environment and failed to produce an EIS, even though the
  Project’s is highly controversial and will kill and displace nearly two dozen sensitive species.
         Without a preliminary injunction, the Defendant-Intervenors (Developers) will
  immediately resume leveling forest, and then move on to building apartments, big-box stores,
  parking lots, and roads—in the process reducing or entirely foreclosing alternatives to restore
  habitat should the Court ultimately grant Plaintiffs’ motion for summary judgment on the
  merits. 2 These activities will irreparably harm protected species and habitat in the remaining
  forested areas that lie in the Developers’ path.
         Therefore, Plaintiffs respectfully request an Order: (1) converting the Temporary
  Restraining Order to a Preliminary Injunction; (2) ordering the Service to suspend the ITP; and
  (3) ordering the Developers to cease all activities in connection with the Project until the Court
  may rule on Parties’ cross-motions for summary judgment, which Plaintiffs submit can be
  resolved on an accelerated schedule to allow for an expeditious resolution on the merits.
                                         STANDARD OF REVIEW
         This Court must “make a de novo determination of those portions of the report or
  specified proposed findings or recommendations to which objection is made.” 28 U.S.C.
  § 636(b)(1)(C). On de novo review, this Court “may accept, reject, or modify, in whole or in
  part, the findings or recommendations made by the magistrate judge.” Id. “As the use of the
  phrase de novo implies, the district court’s consideration . . . must be independent and based
  upon the [record] before the court.” LoConte v. Dugger, 847 F.2d 745, 750 (11th Cir. 1988). The



  1
    Plaintiffs reserve their right to pursue all of the claims in their complaint at the summary
  judgment stage of the proceeding.
  2
    The term “Developers” herein refers specifically to Defendant-Intervenors Coral Reef Retail
  LLC, Coral Reef RESI Ph 1 LLC, and Ramdev LLC. The term “Permittees” means the recipients
  of the Service’s ITP: the Developers and the University of Miami.
                                                       2
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 9 of 29
                                         Case No. 1:17-cv-24444-UU


  court may “receive further evidence, recall witnesses, or recommit the matter to the Magistrate
  Judge with instructions.” S.D. Mag. J. R. 4(b).
                                                  ARGUMENT
         Plaintiffs respectfully object to the R&R’s finding that they are not likely to succeed on
  the merits in this case. Scott v. Roberts, 612 F.3d 1279, 1290 (11th Cir. 2010). 3 A preliminary
  injunction is meant to “preserve the status quo until the rights of the parties can be fairly and
  fully investigated and determined by strictly legal proof and according to the principles of
  equity” Wash. Cnty., N.C. v. U.S. Dep’t of the Navy, 317 F. Supp. 2d 626, 631 (E.D.N.C. 2004)
  (quoting Sinclair Refining Co. v. Midland Oil Co., 44 F.2d 42, 45 (4th Cir. 1932)), and “to
  preserve the court’s ability to render a meaningful decision” on the merits. Canal Auth. of Fla. v.
  Callaway, 489 F.2d 567, 576 (5th Cir. 1974). Because the R&R only analyzed the first factor, 4
  Plaintiffs devote the majority of this Objection to addressing errors in the R&R’s findings and
  recommendation with respect to Plaintiffs’ likelihood of success on the merits; however,
  Plaintiffs point this Court toward previous submissions that support the other three factors. ECF
  1 (Complaint); ECF 4 (Motion for PI/TRO); ECF 53 (Reply).
         Plaintiffs are likely to prevail on the merits of each of their claims. First, Plaintiffs are
  likely to prove the Service violated the requirements of the APA when it prepared the BO and
  ITS, pursuant to ESA subsections 7(a)(2) and 7(b)(4), 16 U.S.C. §§ 1536(a)(2) and (b)(4)(C),
  because: (1) the BO lacks a lawful ITS; (2) the HCP that the Service refers to in its BO lacks a
  numerical limit on take; (3) the Service has not explained why using a numerical limit is
  impractical; (4) the Service has not articulated an adequate nexus between the purported
  surrogate in the HCP and take of species; and (5) the purported surrogate for numerical take in
  the HCP fails to trigger reinitiation of consultation. 50 C.F.R. § 402.16. Second, Plaintiffs are
  also likely to succeed in their APA challenge to the Service’s arbitrary and capricious approval
  of the HCP and issuance of the ITP because the HCP relies on a scientifically unsupported and
  unprecedented “habitat functional assessment,” and fails to incorporate meaningful mitigation
  measures that will minimize and mitigate incidental take “to the maximum extent practicable.”


  3
    Plaintiffs are likely to prevail on the merits of their claims pursuant to the applicable test as set
  forth by the Supreme Court in Winter v. NRDC, 555 U.S. 7 (2008). Indeed, Plaintiffs are
  “substantially” likely to prevail. Grizzle v. Kemp, 634 F.3d 1314, 1320 (11th Cir. 2011).
  4
    The R&R found that Plaintiffs are not likely to succeed on the merits of their case and declined
  to make findings on the remaining three factors. See ECF 80 (R&R) at 22-23.
                                                       3
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 10 of 29
                                         Case No. 1:17-cv-24444-UU


  Finally, Plaintiffs are also likely to prevail on the merits of their claim that the Service violated
  NEPA by failing to prepare an EIS and determining that the Project will not significantly impact
  the human environment.
          THE R&R DISREGARDS THE WELL-ESTABLISHED APPLICABLE LEGAL
         STANDARD AND FACTS TO DETERMINE WHETHER THE SERVICE’S
                 INCIDENTAL TAKE STATEMENT WAS LAWFUL
         A.      The R&R Fundamentally Misapprehends the Endangered Species Act,
                 Which Provides the Foundation for Plaintiffs’ Administrative Procedure Act
                 Claims
         The R&R misstates and appears to misapprehend the procedural requirements of Sections
  7 and 10 of the Endangered Species Act, two distinct statutory sections that provide the
  foundation for many of Plaintiffs’ APA claims. This is illustrated in several of the R&R’s
  findings. First, the R&R conflates two distinct sets of legal requirements under Sections 7 and 10
  of the ESA by stating: “[T]o comply with § 7(a)(2) of the ESA, the Developers prepared an HCP
  and initiated formal consultation with the FWS.” 5 ECF 80 (R&R) at 4. In fact, “formal
  consultation” only happens between the Service and other federal agencies (commonly known as
  “Section 7 consultation”) when there is a federal agency action that may affect ESA-listed
  species; non-federal entities, like the Developer here, do not engage in consultation. 16 U.S.C. §
  1536(a)(2) (explaining that “[e]ach federal agency shall” consult with the Service (emphasis
  added)); see also ECF 1 (Complaint) at 12-15 (explaining ESA Section 7); ECF 77-2
  (Transcript) at 32, lines 11-19 (explaining that Section 7 applies to federal agencies). Instead,
  when non-federal entities’ actions may “take” listed species, Section 10 of the ESA requires non-
  federal entities to obtain an incidental take permit and prepare an HCP before taking such
  species, or face civil and criminal penalties. 6,7 16 U.S.C. §§ 1538-1540; see also ECF 1
  (Complaint) at 11-12 (explaining ESA Section 10); ECF 77-2 (Transcript) at 31-32, 96


  5
    This statement is also factually incorrect. It is undisputed that the Developers submitted an
  HCP to the Service, ECF 36-3 at 8, and the Service entered into formal, intra-agency
  consultation with itself. Id.
  6
    Thus, the Developers did not altruistically “agree” to secure an incidental take permit, ECF 80
  (R&R) at 4, but rather were legally obligated to do so under federal law.
  7
    The R&R also characterizes the requirements of ESA Section 7 and then states,
  “Notwithstanding, the ESA allows for the taking of species that is incidental to activities not
  intended to kill or injure protected species. 16 U.S.C. § 1539(a)(1)(b).” ECF 80 (R&R) at 6. To
  the extent the R&R implies Section 10 provides an exception to Section 7, Plaintiffs object. See
  Infra Section II(C).
                                                      4
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 11 of 29
                                         Case No. 1:17-cv-24444-UU


  (explaining that private entities must obtain take permits to be exempt from civil and criminal
  liability for take under the ESA).
          The R&R also betrays a misunderstanding of the Service’s separate roles as the “action
  agency” and “consulting agency” under ESA Section 7 with the R&R’s conclusion that “[t]he
  BA must discuss the effects of the action on the affected species and the [Service’s] opinion as to
  whether the action is likely to jeopardize [species].” ECF 80 (R&R) at 7 (emphasis added). Here,
  the Service engaged in consultation with itself for the federal action of issuing a take permit.
  ECF 77-2 at 32. As the “action agency,” the Service may, but did not here, prepare a biological
  assessment if it believes its action may affect an endangered or threatened species. See 50 C.F.R.
  §§ 402.12, 402.02. Meanwhile, as the “consulting agency”, the Service prepared a biological
  opinion to determine whether the agency action is likely to jeopardize the continued existence of
  the species. See 50 C.F.R. § 402.14. Thus, the Service’s opinion regarding jeopardy, given as the
  consulting agency, should be in its biological opinion, not a biological assessment.
          These examples, coupled with the R&R’s lack of analysis, and frequent lack of
  conclusions, see, e.g., ECF 80 (R&R) at 15 (mentioning arguments from opposing sides
  regarding the scoring of habitat polygons but failing to state a conclusion of law or facts
  regarding them), show that the R&R lacks clear understanding of the legal requirements
  necessary to determine the Service’s multiple obligations or to ascertain which records are
  relevant to determining whether the Service met them.
          B.      The R&R Contains Errors of Law and Fact Relating to the Service’s
                  Arbitrary and Capricious Failure to Meet its Procedural Obligation Under
                  ESA Section 7 to Specify Take in its Incidental Take Statement
          The ESA authorizes the Service to permit the take of listed species in exceedingly rare
  circumstances. 8 When the Service approves the take of listed species, it must issue an incidental
  take statement (ITS) that “specifies . . . the amount or extent of . . . incidental taking of a listed
  species.” 50 C.F.R. § 402.14(i)(l)(i). An ITS may lawfully allow take of a threatened or
  endangered species “as long as the statement sets a ‘trigger’ for further consultation at the point
  where the allowed incidental take is exceeded, a point at which there is a risk of jeopardizing the


  8
   The Service may authorize take “for scientific purposes,” “to enhance the propagation or
  survival of the affected species,” and when it is “incidental to, and not the purpose of, . . . an
  otherwise lawful activity,” subject to legal requirements set forth in ESA Section 10 and its
  implementing regulations. Id. § 1539(a)(1)(A)-(B).
                                                    5
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 12 of 29
                                        Case No. 1:17-cv-24444-UU


  species.” Miccosukee Tribe of Indians v. United States, 566 F.3d 1257, 1271-72 (11th Cir. 2009).
  The purpose of this trigger is to “alert the agency when the allowed incidental take has been
  exceeded,” and thus prevent irreversible harm to the species. Id. at 1272. The Service must
  establish a trigger by: (1) setting a numerical “cap” or, in limited circumstances, a rational
  surrogate to limit take; and (2) specifying monitoring provisions to assess actual take and
  effectuate the trigger. Id. at 1275. Here, the Service failed to include a lawful ITS in its BO,
  failed to provide a numerical standard for take or explain why such a standard was not practical,
  and failed to provide a surrogate that would allow it to know when the Developers have
  exceeded the take authorized.
         Yet, the R&R finds that the Service’s incidental take statement lawfully specified take
  because the Developer’s “HCP sets forth that loss of habitat is being used as a surrogate for
  individual take[] because it is not practical to detect or monitor individual species.” ECF 80
  (R&R) at 17-18. This finding is rife with erroneous legal and factual conclusions. Specifically, it
  (1) erroneously cites the HCP, a document prepared by the Developers, as evidence that the
  Service met its obligation to specify take in its BO; (2) incorrectly concludes that using a
  surrogate measure of take is lawful despite the absence of evidence showing the Service met the
  prerequisite findings to do so; and (3) assumes the HFA contains a lawful surrogate measure of
  take without analyzing it.
         1. It Is Indisputable that the Service Must Specify Take in an Incidental Take
            Statement in its Biological Opinion
         First, the R&R incorrectly points to the Developers’ HCP to find that the Service fulfilled
  its obligation to specify take in its BO. 9 See id. Because the taking of even one individual of a
  species can result in the jeopardy of entire species, Congress requires the Service to set a limit on
  the take that it authorizes and provide a clear standard for determining when that amount of take
  is exceeded. 16 U.S.C. § 1536(b)(4)(C)(i)-(iv) (requiring the Service to set forth the specific
  impact of take on the species in a “written statement”). The Service must provide this written
  statement, known as an incidental take statement or ITS, within its BO. 50 C.F.R. § 402.14(i)(1)
  (“[T]he Service will provide with the biological opinion a statement concerning incidental take.”)
  (emphasis added). Here, Defendants do not refute that the BO does not contain a numerical cap


  9
   This error may be due, in part, to the R&R’s misunderstanding of the difference between
  Section 7 and Section 10 of the ESA, explained in above. See supra Section I(A).
                                                 6
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 13 of 29
                                         Case No. 1:17-cv-24444-UU


  or surrogate that specifies the amount or extent of take permitted and a “trigger” with a clear
  method for estimating when take has been exceeded. ECF 32 (Fed. Defs.’ Opp. Br.) at 12-13
  (“[I]t is unnecessary for FWS to quantify incidental take in the manner suggested by Plaintiffs.”);
  see also ECF 4 (Pl.’s Mot. for TRO/PI) at 12 (citing Miccosukee Tribe, 566 F.3d at 1273. 10
          Instead of providing an ITS in its BO, the Service refers to the Developers’ entire HCP
  and “associated reporting requirements” for the “impacts to affected species likely to result from
  the proposed taking.” ECF 36-3 (BO) at 180-181. However, to merely refer to the entire HCP
  does not fulfill the Service’s duty to specify take in its own biological opinion, 11 which wholly
  fails to either specify take numerically or explain why a surrogate measure is impracticable,
  describe a causal link between a surrogate measure and take, and set a clear standard for
  determining when take has been exceeded. See ECF 36-3 (BO) at 180-181; see also ECF 4
  (Motion for PI/TRO) at 11-12; ECF 53 (Reply) at 6-7; ECF 77-2 at 43-47. Even if the
  Developers’ findings in their HCP were relevant to the legal violation at issue—which they are
  not—the HCP simply does not specify take numerically, nor does it explain why it is impractical
  to do so for species on the Project site; rather, it generically recites the “impracticability”
  standard set out in the Service’s regulations. Compare ECF 36-4 (HCP) at 91 with ECF 80
  (R&R) at 17-18.
          2. The Service Has Not Established that a Numerical Take Statement Was
             Impractical, Which the ESA Requires to Use a Surrogate
          The R&R also errs in concluding that the use of a surrogate measure of take is
  appropriate in the instant case, as the Service has failed to make the three requisite findings
  necessary to do so. See ECF 80 at 17-18. While Congress has declared a preference for a
  numerical expression of take, the Service may use a surrogate measure but, only if the Service:
  (1) “explains why it is not practical to express the amount or extent of anticipated take . . . in
  terms of individuals”; (2) “[d]escribes the causal link between the surrogate and take of the listed
  species”; and (3) “sets a clear standard for determining when . . . take has been exceeded.” 50


  10
     However, the Service takes a conflicting position in its Set of Findings (SOF), stating that
  “although FWS considers HVA a useful tool we don’t rely on it as basis for BO” ECF 36-2
  (SOF) at 20. This contradiction underscores just how arbitrary and capricious the Service’s
  decision making has been in connection with this ITP.
  11
     The R&R’s subsequent citations to law appear to conflict with its reliance on the Developers’
  explanation for using the HFA as a surrogate. See ECF 80 at 18-19 (stating that “the agency must
  show that it was not possible to use a numerical population count” (emphasis added)).
                                                   7
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 14 of 29
                                        Case No. 1:17-cv-24444-UU


  C.F.R. § 402.14(i)(1)(i); Miccosukee Tribe, 566 F.3d at 1274; Or. Nat. Res. Council v. Allen, 476
  F.3d 1031, at 1041 (ITS failed to “explain[] why such a limit is impracticable to obtain and
  employ”). 12 The Service has not met any of these requirements, yet the R&R concluded that the
  Service’s use of a surrogate measure was appropriate here. Notably, the R&R mentioned that in
  Fund for Animals v. Rice, 85 F.3d 535, 540 n.8 (11th Cir. 1996), the Service found it was
  practicable to specify take numerically for the eastern indigo snake. ECF 80 at 18-19. Yet for the
  permit at issue here, the R&R concludes that it is impracticable to specify take numerically for
  the same species despite the lack of any record evidence supporting such a conclusion.
         Moreover, while the R&R sets out factors for determining practicability of specifying
  take numerically, including the availability and quality of actual or estimated population figures
  and the ability to measure incidental take, see ECF 80 at 19 (citing Miccosukee Tribe of Indians
  of Fla. v. United States, 697 F. Supp. 2d 1324, 1331 (S.D. Fla. 2010)), it wholly ignores the
  record evidence that shows that the Service was able to specify take numerically for the covered
  species. See, e.g., ECF 36-3 at 44-45 (estimating the number of Bartram’s scrub-hairstreak
  butterfly and identifying pineland croton as a closely-tied surrogate for monitoring the butterfly’s
  presence); Id. at 99-100 (estimating the number of eastern indigo snakes on the site).
  Accordingly, the R&R’s reliance on the irrelevant representations of the Developers, See ECF 80
  (R&R) at 17-18 (finding that the “HCP sets forth that loss of habitat is being used as a surrogate
  for individual take[] because it is not practical to detect or monitor individual species”), over the
  Service’s own findings in its biological opinion when determining it was impracticable to specify
  take numerically reflects a clear error in judgment.
         3. The HFA Is Not a Lawful Surrogate Because It Does Not Alert the Service When
            the Developer Has Exceeded the Authorized Amount of Take
         To the extent the R&R accepts Developers’ arguments that the HFA is an adequate
  surrogate, see ECF 80 (R&R) at 17-18, such a conclusion is in error and contrary to the


  12
    The R&R cites only two prerequisites for using a surrogate: that “(1) ‘no such numerical value
  could be practically obtained,’ and (2) that the ‘use of ecological conditions as a surrogate for
  defining incidental take ... [is] linked to the take of the protected species.’” ECF 8- at 18 (citing
  Ariz. Cattle Growers’ Ass’n v. U.S. Fish and Wildlife Serv., 273 F.3d 1229, 1250 (9th Cir.
  2001)). Arizona Cattle Growers’ omission of the third factor is likely due to the fact that the case
  was decided prior to—and, in part, inspired and informed—the Service’s ultimate amended
  regulations. See 80 Fed. Reg. 26832 (May 11, 2015). The Service should be bound by its current
  regulations, which require the three factors described in 50 C.F.R. § 402.14(i)(1)(i).
                                                      8
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 15 of 29
                                        Case No. 1:17-cv-24444-UU


  applicable law. The Service has not attempted to describe in its ITS what the numerical take is
  for any of the species, nor what the surrogate for such take might be. See ECF 36-3 (BO) at 180-
  81. In fact, as described below, the HFA itself is deeply flawed, and the Service’s reliance upon
  it is arbitrary and capricious. See infra Section II. Further, the HFA does not set a clear
  standard—e.g., a certain number of species taken or a certain amount of important microhabitat
  damaged—for the Service to determine when the Developers have exceeded the authorized take.
  See Miccosukee Tribe, 566 F.3d at 1271-72.
         Defendants have not identified any specific triggers for reinitiation of formal consultation
  in the BO, ITS, HCP, or ITP. Indeed, these documents do not supply even so much as a “habitat
  marker” as an estimate, as the Service did in Miccosukee Tribe, 566 F.3d at 1271-72 (ITS “may
  lawfully authorize harm to an endangered species as long as the statement sets a ‘trigger’ for
  further consultation at the point where the allowed incidental take is exceeded” and “a point at
  which there is a risk of jeopardizing the species”).
         C.      The R&R Contains an Error of Law Relating to the Service’s Separate
                 Procedural Obligations Under ESA Sections 7 and 10
         Finally, the R&R commits a clear error of law by adopting the Federal Defendants’
  argument that “there is no separate obligation to quantify incidental take or have a trigger for
  reinitiating consultation in the BO because the incidental take comes from § 10, not the § 7 of the
  ESA.” 13 ECF 80 (R&R) at 19. Sections 7 and 10 of the ESA, and their implementing regulations,
  impart distinct—and each independently legally required—obligations on the Service. See 16
  U.S.C §§ 1539(a)(2) (setting forth the Service’s duties relating to permitting incidental take
  caused by private entities), 1536(a)(2) (setting forth the Service’s duties relating to consulting
  with federal agencies on federal actions that may impact endangered or threatened species).
  Here, the procedural requirements outlined in Section 7’s implementing regulations require the
  Service to consult with itself regarding its own federal action, in this case issuing a Section 10
  incidental take permit to the Developers, and issue a biological opinion that quantifies the
  amount of take anticipated to result from issuing that permit. See 50 C.F.R. § 402.14(h)-(i).
  Neither the statute nor the implementing regulations provide an exception for federal actions that
  involve permitting take under Section 10. Plaintiffs explained the legal and logical fallacies of

  13
     The R&R attributes this argument to “the Developers”; however, Federal Defendants raised
  this argument in their response to Plaintiffs’ motion for temporary restraining order and
  preliminary injunction. See ECF 32 at 12-13.
                                                   9
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 16 of 29
                                           Case No. 1:17-cv-24444-UU


  Federal Defendants’ unprecedented, post hoc arguments in detail in their reply brief and at the
  preliminary injunction hearing, citing relevant law and the Service’s own guidance documents,
  see ECF 53 (Reply) at 7-8; ECF 77-2 (Transcript) at 47-51; whereas Federal Defendants
  presented no legal precedent, either in briefing or at the hearing, to support their novel legal
  theory. See ECF 32 at 12-13. Consequently, the R&R’s adoption of Federal Defendants’
  argument is unsupported by statute, regulation, and caselaw precedent in this and all other
  jurisdictions, and thus is in clear error.
         THE R&R DETERMINES, WITHOUT AN ANALYSIS OF THE RELEVANT
   RECORDS, THAT THE SERVICE’S RELIANCE ON THE HABITAT FUNCTIONAL
   ASSESSMENT IN ISSUING THE INCIDENTAL TAKE PERMIT AND BIOLOGICAL
                          OPINION WAS LAWFUL
          The R&R appears to conflate two of Plaintiffs’ claims relating to the Service’s reliance
  on the Habitat Functional Assessment (HFA) and abruptly dispose of them without adequate
  analysis. See R&R at 14 (appearing to suggest that Plaintiffs argue the HFA is a “black box”
  because it fails to consider the individualized needs and impacts on species). The Service’s
  reliance on the HFA in analyzing the Project’s impacts on species is arbitrary and capricious
  because it: 1) failed to consider important aspects of the problem because the HFA does not
  account for the individual species-specific needs and impacts; and 2) failed to draw a rational
  connection between the facts found and the decision made because the HFA is a “black box” that
  obscures any connection between the generic factors it considered and the estimated “habitat
  value” it produces. See ECF 4 (Motion for TRO/PI) at 7–9; ECF 53 (Reply) at 9–10. Rather than
  analyze these interrelated claims as two separate arguments, the R&R erroneously conflates
  them, resulting in incorrect findings.
          With regard to Plaintiffs’ first argument that the Service’s reliance on the generic HFA is
  unlawful because it fails to consider species-specific impacts, the R&R contains several errors of
  fact. First, the R&R relies on Appendices D and G to the HCP, documents prepared by the
  Developers, to support its factual conclusion that the Service assessed the specific and
  individualized habitat needs of each listed species when determining that the HFA accurately
  reflects the impacts to and mitigation for listed species. See ECF 80 (R&R) at 14-15. Appendix
  D is an inventory of plants that were present on the Coral Reef Commons site in 2014. See ECF
  36-8. Appendix G is a spreadsheet presenting numbers purporting to reflect the current value of
  polygons on the site and their projected value post-development. See ECF 36-12. Neither of

                                                      10
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 17 of 29
                                        Case No. 1:17-cv-24444-UU


  these documents addresses Plaintiffs’ argument that the Service failed to analyze the Project’s
  impacts on the specific habitat needs for each individual species covered by the ITP. 14 See ECF
  36-4 (HCP) at 91-98 (providing six generic factors that do not identify, discuss, or place value on
  any specific habitat features necessary for the survival or recovery of each covered species). The
  ESA requires the Service to “evaluate the effects of the action . . . on the listed species.” 50
  C.F.R. § 402.17(g)(3). Thus, the Service’s reliance on “habitat values” from an assessment that
  fails to consider the specific impacts to the broad range of listed species covered under the
  permit—from beetles to bats—is arbitrary and capricious. 15 See 5 U.S.C. § 706; ECF (Mot. for
  TRO/PI) 4 at 7-8; see also ECF 36-3 (BO) at 36-38, 48 (Service’s BO relying on HFA).
         The R&R also appears to have dismissed Plaintiffs’ specific examples of how the
  Service’s reliance on the HFA is arbitrary and capricious in favor of a position that “the Court’s
  role in determining the likelihood of success on the merits [does] not entail a deep dive into
  minutiae.” 16 ECF 80 (R&R) at 15. The HFA provides the very basis for the Service’s approval of
  the Developers’ HCP, the ITP, and the BO on the take permit. See, e.g., ECF 36-3 (BO) at 37-38,
  129; ECF 36-22 (EA) at 65-66. Accordingly, analysis of record evidence that shows that the
  HFA is arbitrary and not rationally supported is not “diving into minutiae” but rather a necessary
  analysis of the key facts at issue in the instant case. Plaintiffs’ arguments regarding illogical
  polygon scores, double-crediting, and unsupported factual findings in the HFA are just a few
  examples of how the HFA is arbitrary and capricious, and thus the Service’s reliance on it also
  arbitrary and capricious. See ECF 4 (Motion for PI/TRO) at 6-9; ECF 77-2 (Tr. at 36-43).
         Additionally, the R&R appears to have adopted Developers’ argument that “Plaintiffs
  have not produced any evidence supporting their argument that prescribed fires under the HCP
  will not occur once the area is developed.” ECF 80 (R&R) at 16. However, Plaintiffs identified


  14
     For example, the generic “native plant presence” factor in the HFA would reflect high habitat
  value for the site so long as any number of hundreds of native plant species were present,
  regardless of whether specific species of plants necessary for the survival of covered species
  were present. See ECF 77-2 at 33-35.
  15
     For example, the Service relies on the HFA’s assessment of “habitat value units” throughout
  its BO and environmental assessment when discussing the overall impact of the project. See, e.g.,
  ECF 36-3 (BO) at 72, 169, 178. Without a clear explanation for how those values were created,
  reliance on them is arbitrary and capricious. See Motor Veh. Mfrs., 463 U.S. at 43 (holding that
  an agency must provide a “rational connection between the facts found and the choice made”).
  16
     The R&R appears to recount parts of each party’s argument without clearly articulating which
  argument it found persuasive. ECF 80 (R&R) at 15.
                                                   11
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 18 of 29
                                        Case No. 1:17-cv-24444-UU


  numerous examples in the record, including in appendices to the Developers’ own HCP, showing
  the Project will inhibit prescribed fire. See ECF 36-6 (HCP Appx. B) at 10 (“As residential and
  commercial developments have expanded to surround the subject property, the fire regimen has
  been reduced or eliminated . . . . Once the Coral Reef Commons project is constructed, we
  anticipate that further restrictions will be placed upon the fire programs.”); ECF 36-22 (EA) at 14
  (explaining that prescribed fires in populated areas like Miami “are hampered by the pattern of
  land ownership and development in addition to residential and commercial properties located
  proximal to pine rockland habitat”); ECF 36-27 (Att. 5 to EA) at 6 (explaining that prescribed
  fire “is hampered” in pine rocklands where “residential and commercial properties are … within
  or in close proximity to pine rockland habitat”); ECF 6 at 4-6 (“As a former naturalist and
  resource manager for Miami-Dade Parks Department, I do not see how prescribed burns on 50
  acres could possibly be conducted adjacent to a Walmart, LA Fitness, a restaurant, an apartment
  buildings.”); ECF 6 at 13 (biologist opining that “it is not realistic to expect that prescribed fire
  could be implemented in preserves which surround 900 homes and dozens of businesses”).
         The Service itself concedes that prescribed fire will be more challenging in an urbanized
  environment and will be wholly dependent on the uncertain collaboration of nearby property
  owners, otherwise “the habitat and species will likely suffer,” ECF 36-2 (SOF) at 32-33, 17 which
  is consistent with and fails to dispel the multitude of concerns in the record that prescribed fire
  will be infeasible following construction. Contrary to the R&R’s position that it is Plaintiffs’
  burden to prove that burns will not occur, Plaintiffs’ burden is to show that given the bleak
  history of prescribed burns on the site, See ECF 36-15 (HCP Appx J) at 6-8, and overwhelming
  information showing the Project will hamper fire, the Service cannot reasonably draw a
  connection between the facts before it and its ultimate conclusion that the habitat will improve
  due to future prescribed fire. 18 See Motor Veh. Mfrs. v. State Farm Mut. Auto. Ins., 463 U.S. 29,
  43 (1983); 5 U.S.C. § 706.



  17
     The Service concedes that the success of fire on the Project site will be wholly dependent on
  the uncertain collaboration of nearby property owners. ECF 36-2 (SOF) at 32-33.
  18
     The R&R’s citation (ECF 80 at 16) to a post-permit declaration that the Developers submitted
  in their opposition to Plaintiffs’ motion makes Plaintiffs’ point: There is nothing in the record
  before the Service to support the Service’s conclusion that prescribed burns will occur after
  residential and commercial projects are built on site, and the Service (and Court) may not now
  rely on post-hoc rationalizations. See ECF 52 (Pls.’ Mot. to Strike) at 3-6.
                                                   12
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 19 of 29
                                        Case No. 1:17-cv-24444-UU


         Likewise, the R&R’s factual finding that “[t]he FWS responded to the arguments
  concerning polygons, prescribed fire, and double-dipping” in its set of findings, ECF 80 (R&R)
  at 15, is also unsupported by the record. For example, the Service’s response to claims that
  crediting both “increased native plant cover” and “decreased invasive plant cover” in the HFA
  amounted to “double-dipping,” was that “[p]ine rockland habitat could be predominantly native
  plants yet still lack the desired abundance of plants necessary to support the butterflies.” ECF 36-
  2 (SOF) at 19. However, this explanation is irrelevant and nonsensical because the generic
  “native plant cover” factor under the HFA does not guarantee the presence of any particular
  species of plants (like “plants necessary to support the butterflies”). It merely considers the
  percentage of native plant cover, regardless of the plant species, so long as the plants are among
  the hundreds of plant species considered native. See ECF 36-4 (HCP) at 95-96. With regard to
  apparent inconsistencies in valuing habitat polygons, the Service concedes in the set of findings
  that “in some cases the polygon scores are counter intuitive,” but does not then provide a
  satisfactory explanation for the discrepancies. ECF 36-2 (SOF) at 20.
        THE R&R IGNORES RECORD EVIDENCE AND RELEVANT CASELAW IN
    CONCLUDING THAT THE SERVICE’S RELIANCE ON ALREADY CONSERVED
                   OFF-SITE MITIGATION WAS LAWFUL
         In concluding that the Developers’ off-site mitigation was sufficient, the R&R states that
  Plaintiffs had “not provided any authority indicating that the County could not memorialize pre-
  existing measures in the permit,” and that the Service concluded that management of the
  property was going to improve with respect to the existing requirements. ECF 80 (R&R) at 17.
  First, the County’s actions are not relevant to Plaintiffs’ claims in this case. Second, regarding
  the Service’s conclusion that the off-site mitigation provided enough of an environmental benefit
  to either comply with the requirements of ESA Section 10, 50 C.F.R. §§ 17.22(b)(2)(i)(B),
  17.32(b)(2)(i)(B), or to mitigate impacts to below a “significance” threshold, Plaintiffs’ motion
  demonstrated that the Service acted arbitrarily and capriciously.
         Specifically, the Service’s “minimization and mitigation” finding relied on conservation
  restrictions the Developers proposed on an off-site mitigation parcel of property owned by
  University of Miami (UM). But the off-site conservation restrictions that the Service credited to
  this Project were already largely embodied in existing, recorded deed restrictions.
         Although the R&R acknowledges that the UM site was “subject to prior land use
  restrictions,” ECF 80 (R&R) at 16, it incorrectly states that Plaintiffs did not provide authority
                                                   13
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 20 of 29
                                        Case No. 1:17-cv-24444-UU


  indicating pre-existing restrictions should not be credited to the permitted project. Id. at 17. In
  fact, Plaintiffs cited in their motion 16 U.S.C. § 1539(a)(2)(B)(ii), which requires the Service to
  find that “the applicant will . . . minimize and mitigate the impacts of [species take].” Plaintiffs
  also cited Pacificans for a Scenic Coast v. California Department of Transportation, 204 F.
  Supp. 3d 1075, 1088 (N.D. Cal. 2016), which found that the approval of a transit project was
  arbitrary where the Service credited as mitigation a proposal to preserve a 5.14-acre site that was
  already under a preservation easement. The court explained that the Service is required to
  “assess[] the net effect of the overall project” including adverse effects from the project and
  “mitigation designed to offset them.” Id. at 1088. Where a proposed mitigation site is already
  under a conservation requirement, it “could not be considered a new mitigation measure.” Id.;
  see also Gerber v. Norton, 294 F.3d 173, 183 (D.C. Cir. 2002) (discussing the “problem” that
  “an open-space covenant already existed on the mitigation site, thus drawing into question
  whether placing a conservation easement on the site added anything to existing protections”).
  Thus, contrary to the R&R’s conclusion, mitigation measures that are part of “pre-existing”
  requirements are actually not any new mitigation at all, and the Service’s reliance on the off-site
  mitigation to comply with the ESA or NEPA was arbitrary.
         The HCP relies on UM’s off-site mitigation area to offset species impacts from the
  Project, HCP at 79, 119–21, which the Service required to better compensate for the Project’s
  impacts. ECF 36-2 (SOF) at 6. The UM property offered as off-site mitigation, however, is
  already subject to deed restrictions that require preservation and protection of the site. ECF 36-
  21 (HCP App. O) at 10-11, 18-20. The restrictions were imposed after consultation between the
  federal government and UM for the conveyance of the property to UM in 2000. Id. at 3 (HCP
  App. O, Quitclaim Deed at 2). The existing restrictions include prohibitions on construction,
  removal of vegetation, and excavation, id.; that the land must “remain predominantly in its
  natural condition,” id. at 9 (HCP App. O, Declaration of Restrictions on Deed); and, that
  “[a]ctivities detrimental to drainage, flood control, water conservation, soil conservation, or fish
  and wildlife habitat Preservation” are prohibited. Id. A “conservation management plan” was
  incorporated as part of the deed restriction, which requires periodic removal of exotic vegetation
  by hand or through chemical treatment, or prescribed burning every 3 to 5 years. ECF 36-21
  (HCP App. O) at 10-11, 18-20. Hence, the proposed off-site mitigation that the Service used to



                                                    14
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 21 of 29
                                         Case No. 1:17-cv-24444-UU


  authorize this Project was illusory and provided no new conservation benefit to mitigate the
  Project’s impacts since the site is already under a conservation deed restriction.
         To be sure, the 2000 deed restriction on the UM site was prompted by concern over
  deltoid spurge, which was listed as an endangered species at the time. Id. at 2. Since 2000, an
  additional twelve species are covered that will be impacted by the Project. ECF 71-1 at 8. But
  the R&R’s statement that the outstanding conservation requirements “pertain[] to only one
  species,” ECF 80 (R&R) at 17, is in error. Whether protected for one species or for twenty, the
  UM site is already protected, and the Service’s double-counting contravenes Section 10’s
  mandate that the Service find that the applicant “to the maximum extent practicable, minimize
  and mitigate the impacts of taking,” 16 U.S.C. § 1539(a)(2)(B)(ii), so as to create an added
  conservation benefit. See Pacificans, 204 F. Supp. 3d at 1088. Moreover, because the off-site
  mitigation does not mitigate for the impacts of this Project, it cannot be offered as rationale for
  reaching a Finding of No Significant Impact. Infra Section IV(A).
        THE R&R RECITES DEFENDANTS’ POSITION WITHOUT INDEPENDENTLY
    ANALYZING PLAINTIFFS’ ARGUMENTS WITH RESPECT TO THE SERVICE’S
   FAILURE TO PRODUCE AN ENVIRONMENTAL IMPACT STATEMENT OR MAKE
       ITS FINDING OF NO SIGNIFICANT IMPACT AVAILABLE FOR 30 DAYS
         A.      The Service Erred in Finding that the Project Would Not Significantly
                 Impact the Human Environment
         The R&R errs by ignoring applicable caselaw from the Eleventh Circuit that holding that
  where there is doubt as to the benefits of a project or the project’s true impact on listed species,
  the Service should treat such unknowns as significant and conduct an environmental impact
  statement. Sierra Club v. Norton, 207 F. Supp. 2d 1310 (S.D. Ala. 2002). Under NEPA, federal
  agencies “shall” prepare an EIS on all major federal actions that “significantly affect” the
  environment. 42 U.S.C. § 4332(C). The Council on Environmental Quality’s regulations
  implementing NEPA require that federal agencies consider “significance” factors in determining
  whether an action may have a significant affect warranting an EIS, including: the unique
  characteristics of the geographic area; the degree to which the environmental effects of the
  proposed action are highly controversial; and, the degree to which the action may adversely
  affect a listed species or its habitat. 40 C.F.R. § 1508.27. Here, all of these factors are present.
         1. The geographic area has unique characteristics
         The Service has repeatedly emphasized the rarity of once-vast pine rocklands and the
  significance of this site in particular, including as occupied habitat for numerous endangered and
                                                     15
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 22 of 29
                                        Case No. 1:17-cv-24444-UU


  threatened species. See, e.g., ECF 4-7 (Ex. 1, ITP) at 2; ECF 4-11 (Ex. 5, EA) at 71; ECF 4-9
  (Ex. 3, BO) at 33, 130; ECF 6 (Ex. 6, Comments by Roger L. Hammer) at 3; ECF 4-10 (Ex. 4,
  HCP) at 10, 136. Regardless of how one qualifies the habitat quality of the Project area, it is
  indisputable that it includes some of the last remaining habitat for the species covered in the ITP,
  and its destruction for apartments and a big box store would render it completely uninhabitable.
  The record is replete with information about the Project site that explains its uniqueness; nothing
  in the record refutes the conclusion that the Project site is unique.
         2. The effects of the project are highly controversial
         The R&R incompletely recites Plaintiffs’ position with respect to the degree to which the
  effects of the Project are highly controversial. ECF 80 (R&R) at 21-22. Plaintiffs argue that: (1)
  the Project is very controversial as evidenced by the public comments the Service received; and
  (2) there is controversy as to the effects of the Project, which is also evidenced by the public
  comments the Service received. ECF 4 (Plaintiffs’ Motion for TRO/PI) at 17. Notably, the R&R
  does not make a finding as to whether there was either, but in particular, the latter kind of
  controversy in this case, and instead states in passing that even if “there was a legitimate
  controversy. . . that finding would not be fatal.” ECF 80 (R&R) at 22 (citing 40 C.F.R.
  1508.27(b) for the proposition that “controversy” is one of several factors).
         3. The action may adversely affect listed species and their habitat
         As Plaintiffs explained in their briefing and at the hearing, ECF 77-2 at 40-41, in Sierra
  Club v. Norton, 207 F. Supp. 2d 1310 (S.D. Ala. 2002), the court found that the Service’s
  issuance of take permits for the Alabama beach mouse were unlawful because the Service’s
  arbitrary decision that the loss of 20 percent of the optimal habitat in the action area would have
  no significant impact on the mouse. Rather than proffer the relevant total population, population
  density, and distribution or viability data, the Service instead relied upon a habitat-based
  analysis. Id. at 1316. The court rejected this analysis because the Service’s environmental
  assessment made clear that the Service did not know what effect the loss of optimal habitat will
  have on the species nor what minimum habitat requirements are necessary for the survival and
  recovery of the species. Id. The court noted:
         An environmentally significant action need not involve a threat of extinction to a
         federally-protected species. Lesser impacts, including impacts on non-listed
         species, constitute a significant effect. However the involvement of a federally
         protected threatened or endangered species and the possibility of a threatened
         impact as potentially serious as extinction or extirpation from a traditional habitat
                                                  16
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 23 of 29
                                        Case No. 1:17-cv-24444-UU


         are factors weighing in favor of a finding of significance. Another factor of
         particular relevance in this action is the existence of uncertainty regarding the
         environmental effect of the proposed action.
  Id. at 1322.
         In Norton, the developers asserted the development would impact .35 acres of mouse
  critical habitat and that they would set aside in perpetuity for conservation 105.5 acres of the
  196.5 acres tract, and reslope and replant sand dunes. Id. at 1325. The court found that the record
  clearly demonstrated the development was expected to destroy 58.9 acres of beach mouse
  habitat, including 34.5 acres of optimal habitat. Id.
         The court found that it was “almost beyond question that the destruction of 20% of an
  endangered species’ “optimal habitat” (defined to include all habitat needed by the species) . . .
  of approximately 20%, for a species which was rendered endangered by pre-listing losses of
  habitat, will have an impact on that species which is ‘significant’ under any reasonable definition
  of that term.” Id. at 1326. Relevant to the matter before this Court, the court in Norton found:
         Despite the fact that the FONSI list and addresses each of the FONSI lists and
         addresses each of the ten factors . . . the FWS does not clearly state how it
         weighed or balanced those factors or how it reached its determination of no
         significant impact under that framework. Nor, despite the inclusion of large
         amounts of data, findings and analysis, has the agency answered how such a large
         absolute and relative habitat loss can be said to not be significant.
  Id. at 1326-27. Likewise here, this Court should not accept the Service’s “largely implicit
  conclusion” that the effects of this habitat loss is so insignificant that preparation of an EIS is not
  required. Id. at 1329.
         Like the Alabama beach mouse, the species at issue here have all been found by the
  Service to be threatened with extinction, extirpated from much of their original habitat, and
  suffering severe declines in population and available habitat due to the alteration of their
  ecosystems due to residential and commercial development and vegetational succession.
  Compare id. at 1323 with ECF 1 (Complaint) at 17-23. Moreover, like the Alabama beach
  mouse, the Bartram’s scrub hairstreak butterfly and Florida leafwing—the only two species for
  which the Service has complied with its legal obligation to designate critical habitat 19—have


  19
    The ESA requires that the Service designate critical habitat concurrently with listing a species
  as endangered or threatened. 16 U.S.C. 1533. The Service listed the eastern indigo snake on
  January 31, 1978, the Florida bonneted bat on November 1, 2013, and the Miami tiger beetle on
  November 4, 2016. But the Service has yet to designate critical habitat for these species. This
                                                 17
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 24 of 29
                                        Case No. 1:17-cv-24444-UU


  critical habitat designated for which the Service has determined the preservation is essential to
  the continued survival and recovery of the species. ECF 4-9 (Ex. 3, BO) at 53-59.
         B.        The Service has not met its Obligation to Independently Conclude that the
                   Developers Will Minimize and Mitigate the Impact of the Taking
         Under the ESA it is unlawful to take a listed species without a Service-issued ITP. The
  Service is to issue such a permit if it finds that, among other things, “the applicant will, to the
  maximum extent practicable, minimize and mitigate the impact of such taking.” 50 C.F.R.
  § 17.22(b)(2).
         In Sierra Club v. Babbitt, the Southern District of Alabama held that the Service violated
  the ESA and NEPA because its decision to issue two incidental take permits for housing
  construction that would permanently destroy 44 acres of occupied Alabama beach mouse habitat
  and an undetermined number of mice was arbitrary, capricious, and without sufficient basis in
  the record. 15 F. Supp. 2d 1274 (S.D. Ala. 1998). The plaintiffs argued that there was no
  reviewable basis in the administrative record for the court to determine whether the amount of
  mitigation funding will minimize and mitigate the harm to the Alabama beach mouse to the
  maximum extent practicable as required by the ESA. Id. at 1279. The court found that there was
  nothing in the administrative record explaining or providing any analysis as to whether the
  amount of off-site mitigation required was “to the maximum extent practicable” nor any
  explanation regarding inconsistent mitigation policies. Id. at 1281.
         As in Sierra Club v. Babbitt, the Service here violated NEPA in failing to prepare an
  environmental impact statement because it based its decision on assumptions, presumptions, and
  conclusions rather than on evidence or data in the record. Id. at 1284. In Norton, the Service and
  developers asserted that even if the project may have a significant impact on the mouse, the
  impact would be mitigated to insignificant by the proposed mitigation. 207 F. Supp. 2d at 1330.
  The court first found that although the conservation plan promised benefits to 105.5 acres, the
  loss of 20 percent of the habitat in the action area could be a significant environmental impact
  “regardless of what beneficial measures may also exist,” and that “admittedly beneficial and
  admittedly minimizing many of the lesser adverse effects of this action, do nothing to lessen the
  irreducible destruction of habitat found by the agency.” 207 F. Supp. 2d. at 1330. Most directly



  failure is in violation of the ESA and does not indicate that the species do not have habitat that is
  essential to their continued survival and recovery.
                                                   18
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 25 of 29
                                        Case No. 1:17-cv-24444-UU


  relevant to this case, the court in Norton found “[e]ven if the court were to presume that the HCP
  would completely reduce any effect on that 105.5 acres portion of the 196.5-acre tract at issue to
  insignificance, the HCP will not ‘undo’ that destruction, and will not create new habitat to
  replace that lost through this construction.” 207 F. Supp. 2d. at 1330-31.
         C.      The Service Unlawfully Failed to Make the FONSI Available to the Public
                 for 30 Days Prior to Taking Action
         Defendants posit, and the R&R repeats without independent analysis, the hollow claim
  that Plaintiffs have failed to explain how the four factors requiring that the Service make a
  FONSI available for 30 days prior to taking action have been met here. ECF 32 (Opp’n to Pls.’
  Mot. for PI) at 14; ECF 80 (R&R) at 19. Here, each of the four factors are met. See 550 FW
  3.3(B)(4)(c) (factors for when to make FONSI available for 30 days).
         First, this was a borderline case. See Id. at 3.3(B)(4)(c)(i). It is not disputed that the
  Project that would destroy— wholesale—approximately 86.5 acres of unique land that provides
  habitat for 22 sensitive species to make way for development that would make the prescribed
  burns even more impractical. ECF 4-10 (Ex. 4, HCP) at 2, 55. Even if the impact would be
  beneficial, as Defendants claim, for the reasons cited above, this is a case in which the Service
  could have found that such a project may have significant impacts, i.e. it was a borderline case.
  Second, this was clearly an unusual or precedent-setting action because the issuance of a take
  permit was predicated on a never-before-seen-or-tested HFA. This is precisely the kind of
  unusual or precedent-setting action contemplated by the regulation. See 550 FW 3.3(B)(4)(c)(ii).
  Third, all parties agree that the Service’s approval of the Project was in spite of well-documented
  scientific and public controversy regarding its nature, size, and impacts. ECF 6 (Excerpted Public
  Comments). Therefore, this Project was a matter subject to scientific or public controversy
  warranting the invocation of this provision. 40 C.F.R. §§ 1501.4(e)(2)(i), 1508.27(b)(4); 550 FW
  3.3(B)(4)(c)(iii). Finally, this is the sort of action that normally would require an EIS for the
  reasons stated above. 40 C.F.R. § 1501.4(a)(1); 550 FW 3.3(B)(4)(c)(iv); supra IV.A.
                                                CONCLUSION
         De novo review of the R&R demonstrates its numerous factual and legal errors. Beyond
  those already detailed, and important for the resolution of this motion, the R&R uncritically
  accepts at face value the Developers’ unsupported statement at the PI hearing that the site
  consisted of only 33 acres of pine rocklands, of which 31 were cleared before this Court could


                                                    19
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 26 of 29
                                         Case No. 1:17-cv-24444-UU


  issue temporary injunctive relief, 20 which would leave only two remaining acres of pine
  rocklands on the site, perhaps suggesting that the worst of the Developers’ devastation had
  already come to pass. ECF 77-2 (Tr.) at 109-110, 125. In fact, the record shows that the Project
  would destroy approximately 86.5 acres in the Richmond pine rockland and upland,
  exceptionally rare habitat. See ECF 4-11 (EA) at 2, 8, 22-27; ECF 4-10 (HCP) at 2, 9. Assuming
  that Developers’ claims that they have destroyed 31 acres so far are true, more than 53 acres
  remain in status quo and continue to provide some benefits to listed species. The R&R erred in
  accepting the Defendants’ unverified claims, which are contrary to the record.
         Perhaps more importantly, this conclusion ignores Plaintiffs’ arguments at the hearing
  and in the reply brief that even if the Developers managed to rapidly clear 31 acres, causing
  irreparable harm by directly killing and displacing plants and animals, this land could be
  rehabilitated, which would prevent further irreparable harm that would arise once Developers
  paved over the land. See ECF 77-2 (Tr.) at 185-187; ECF 53 (Reply) at 2-3.
         For the foregoing reasons, the Court should reject the R&R, ECF 80, and grant Plaintiffs’
  motion for a preliminary injunction.
                                                   Respectfully submitted,

                                                   COFFEY BURLINGTON, P.L.
                                                   2601 South Bayshore Drive, Penthouse
                                                   Miami, Florida 33133
                                                   Telephone:    (305) 858-2900
                                                   Facsimile:    (305) 858-5261


                                             By:      s/ Paul J. Schwiep
                                                   Paul J. Schwiep, FBN 823244
                                                   PSchwiep@CoffeyBurlington.com
                                                   Secondary: YVB@CoffeyBurlington.com
                                                   Tertiary:     service@CoffeyBurlington.com

                                                   Jaclyn Lopez, FBN 96445
                                                   JLopez@BiologicalDiversity.org
                                                   Elise Pautler Bennett, FBN 106573
                                                   EBennett@BiologicalDiversity.org

  20
    The Developers’ own declarant states that somehow the Developers had advance notice of the
  ITP such that they were able prepare for and to commence ground-clearing activities “early” on
  December 5, 2017, Wilson Declaration (ECF No. 34-2) ¶ 17, many hours before the public and
  Plaintiffs were informed of the Permit issuance at 3:13 p.m. ECF No. 5-17.
                                                  20
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 27 of 29
                                       Case No. 1:17-cv-24444-UU


                                                CENTER FOR BIOLOGICAL DIVERSITY
                                                Post Office Box 2155
                                                St. Petersburg, Florida 33731
                                                Telephone:      (727) 490-9190 (J Lopez)
                                                Telephone:      (727) 755-6950 (E Bennett)
                                                Facsimile:      (520) 623-9797

                                                Amy R. Atwood, Esq. (admitted pro hac vice)
                                                Atwood@BiologicalDiversity.org
                                                CENTER FOR BIOLOGICAL DIVERSITY
                                                Post Office Box 11374
                                                Portland, Oregon 97211
                                                Telephone:    (971) 717-6401
                                                Facsimile:    (503) 283-5528

                                                John Peter Rose (admitted pro hac vice)
                                                JRose@BiologicalDiversity.org
                                                CENTER FOR BIOLOGICAL DIVERSITY
                                                660 South Figueroa Street, Suite 1000
                                                Los Angeles, California 90017
                                                Telephone:    (213) 785-5406
                                                Facsimile:    (213) 785-5748

                                                Counsel for Plaintiffs

                                    REQUEST FOR HEARING

         Pursuant to S.D. Fla. L.R. 7.1(b), Plaintiffs respectfully request that the Court convene a
  hearing on these Objections. While Plaintiffs believe that the errors in the R&R are patent, oral
  argument may be of value of to the Court as it would allow counsel to provide the Court with
  demonstrative presentations of the site at issue and the harms that will occur if a preliminary
  injunction is not entered, and would permit counsel to detail the legal arguments in support of the
  Objections. Counsel request that the forty-five minutes be allotted to present these Objections;
  one hour for any opposition; and, fifteen minutes for rebuttal.




                                                  21
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 28 of 29
                                     Case No. 1:17-cv-24444-UU


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 31, 2018, I electronically filed the foregoing with
  the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served
  this day on all counsel of record on the Service List below via transmission of Notice of
  Electronic Filing generated by CM/ECF.



                                                       s/ Paul J. Schwiep



                                           Service List
  George S. LeMieux, Esq.                        Martin J. Alexander, Esq.
  GLemieux@gunster.com                           Martin.Alexander@hklaw.com
  Angel A. Cortiñas, Esq.                        Rafe Petersen, Esq. (admitted pro hac vice)
  ACortinas@gunster.com                          Rafe.Petersen@hklaw.com
  Luna E. Phillips, Esq.                         Aaron Heishman, Esq. (admitted pro hac vice)
  LPhillips@gunster.com                          Aaron.Heishman@hklaw.com
  Jonathan H. Kaskel, Esq.                       HOLLAND & KNIGHT
  JKaskel@gunster.com                            701 Brickell Avenue, #3300
  GUNSTER                                        Miami, Florida 33131
  600 Brickell Avenue, Suite 3500                Telephone: (305) 374-8500
  Miami, Florida 33131                           Secondary: Carmen.Ramsey@hklaw.com
  Telephone: (305) 376-6000
  Facsimile: (305) 376-6010                      Counsel for Intervenor Defendants Coral Reef
  Secondary: NSalazar@gunster.com                Retail LLC, Coral Reef RESI PH1 LLC and
               JBuck@gunster.com                 RAMDEV LLC

  Counsel for Intervenor Defendants Coral
  Reef Retail, LLC, Coral Reef RESI PH 1,
  LLC, and RAMDEV LLC
  Mark Arthur Brown                              Mark A. Salky, Esq.
  Senior Trial Attorney                          salkym@gtlaw.com
  Mark.Brown@usdoj.gov                           Eva M. Spahn, Esq.
  U.S. Department of Justice                     spahne@gtlaw.com
  Environmental and Natural                      GREENBERG TRAURIG, P.A.
    Resources Division                           333 SE 2 Avenue, Suite 4400
  Wildlife and Marine Resources Section          Miami, Florida 33131
  Post Office Box 7611                           Telephone: (305) 579-0500
  Washington, D.C. 20044-7611                    Facsimile: (305) 579-0717
  Telephone: (202) 305-0204                      Secondary: burkek@gtlaw.com
  Facsimile: (202) 305-0275                                  FLService@gtlaw.com
                                                             cryzm@gtlaw.com

                                                22
Case 1:17-cv-24444-UU Document 82 Entered on FLSD Docket 01/31/2018 Page 29 of 29
                                      Case No. 1:17-cv-24444-UU


  Lucinda J. Bach
  Trial Attorney                                  Counsel for University of Miami
  Lucinda.Bach@usdoj.gov
  U.S. Department of Justice
  Environmental and Natural
    Resources Division
  Natural Resources Section
  601 D Street, NW
  Washington, D.C. 20044
  Telephone: (202) 616-9663

  Counsel for Federal Defendants

  Vicki Mott
  Attorney-Advisor
  Vicki.Mott@sol.doi.gov
  U.S. Department of the Interior
  Office of the Regional Solicitor
  Southeast Region
  75 Ted Turner Drive SW, Suite 304
  Atlanta, Georgia 30303
  Telephone: (404) 331-0722 x233

  Of Counsel for Federal Defendants




                                                 23
